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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MINNESOTA


Basin Commerce, Inc.,                            Case No. 18-cv-2574-PAM-BRT

                     Plaintiff,
                                                     PLAINTIFF’S COUNSEL’S
v.                                               MEMORANDUM OF LAW IN SUPPORT
                                                    OF MOTION TO WITHDRAW
Celtic Marine Corporation,

                     Defendant.



       Plaintiff’s undersigned counsel has moved the Court for an Order permitting

Chestnut Cambronne PA to withdraw as attorneys as provided by LR 83.7(c). Plaintiff

and Defendant have been served with the Notice of Motion and Motion, this

Memorandum, the proposed order and the Declaration of Wynn Curtiss (the

“Declaration”).

       Pursuant to District of Minnesota Local Rule 83.7(c), withdrawal of counsel in the

absence of substitute counsel may only be allowed upon a motion and a showing of

“good cause.” “What constitutes ‘good cause’ for the withdrawal of counsel, without

substitution, cannot be readily defined, or categorized, but must be evaluated on a case-

by-case basis, and determined by examining the reasons proffered for the asserted need to

withdraw.” Cabo Holdings, LLC v. Englehart, No. 07-cv-3524 (PJS/RLE), 2008 WL

4831757, at *4 (D. Minn. Nov. 3, 2008) (citing Spearman v. Salminen, 379 N.W.2d 627,

632 (Minn. Ct. App. 1986). Good cause has been found “where counsel cannot

adequately represent the client without traversing the governing Rules of Professional


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Conduct, or where a degree of fractiousness, between the client and counsel, has

developed which inhibits ‘the just, speedy, and inexpensive determination of [the]

action.’” Cabo at *4. Good cause for withdrawal has been found “where there has been a

‘complete breakdown in the attorney-client relationship.’ ” BBY Solutions v. Karreman,

No. 10-cv-4726 (MJD/TNL), 2012 WL 12897874, at *1 (D. Minn. Oct. 12, 2012)

(quoting Luiken v. Domino’s Pizza, LLC, No. 09-cv-516 (DWF/AJB), 2009 WL

4723296, at *3 (D. Minn. Dec. 2, 2009)). And, “an assertion of irreconcilable differences

may be sufficient to support a withdrawal of counsel.” Catamount Radiology, P.C. v.

Bailey, No. 1:14-cv-213, 2015 WL 4771592, at *1 (D. Vt. Aug. 12, 2015).

       As set forth in the Declaration, the working relationship between Plaintiff has

become untenable. Plaintiff has repeatedly failed to timely communicate, has

unreasonably modified its settlement position and strategy, has unknowingly engaged in

communications with Defendant that were not shared with Plaintiff’s own counsel, has

misstated the status of those communications and has repeatedly failed and refused to

execute an engagement agreement or pay the fees and costs incurred by Plaintiff’s

counsel. Further, Plaintiff’s representative is not the original client contact, having

assumed control of Plaintiff after a change of ownership and management. The necessary

trust between counsel and client is gone and the client, and the Court, would be better

served if Plaintiff had new counsel free of such issues.

       “In addressing motions to withdraw as counsel, district courts have typically

considered whether ‘the prosecution of the suit is [likely to be] disrupted by the

withdrawal of counsel.” Whiting v. Lacara, 187 F.3d 317, 320–21 (2nd Cir.1999),


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quoting Brown v. National Survival Games, Inc., 1994 WL 660533 at *3 (N.D.N.Y.,

November 18, 1994); see also, Vachula v. General Electric Capital Corp., 199 F.R.D.

454, 458 (D.Conn.2000).

       Most of the tasks remaining in the case are not due to occur for months. Plaintiff

has ample opportunity to obtain substitute counsel without disrupting the process of the

litigation.

       For the reasons set forth in the Declaration, counsel for Plaintiff respectfully

requests that the Court grant the motion to withdraw.


Dated: May 2, 2019                          Respectfully submitted,

                                            CHESTNUT CAMBRONNE PA

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